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                                       Exhibit A




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    )
                                                                    ) (Joint Administration Requested)
                                                                    )
                                                                        Ref Docket No. ___

      INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO CONTINUE IN THE
       ORDINARY COURSE OF BUSINESS: (A) SALE ACTIVITIES RELATED TO
     CERTAIN “CIK” PROPERTIES, (B) ORIGINATING AND FUNDING MORTGAGE
        LOANS, (C) SELLING “SCRATCH AND DENT LOANS”, (D) SERVICING
                  LOANS, AND (II) GRANTING RELATED RELIEF
                    Upon consideration of the above debtors and debtors in possession in the

     above-captioned cases (collectively, the “Debtors”) motion for entry of this interim (“Interim

     Order”) and final orders, under sections 105(a), 362, 363, 1107(a) and 1108 of title 11 of the

     United States Code (the “Bankruptcy Code”) and Rule 6003 of the Federal Rules of

     Bankruptcy Procedure (the “Bankruptcy Rules”), (i) authorizing, but not directing, the Debtors

     to continue in the ordinary course of business: (a) sale activities related to certain “Cash is

     King” owned properties (“CIK Properties”), including authorizing the sale of such CIK

     Properties free and clear of liens, claims, and encumbrances, (b) originating and funding

     mortgage loans, (c) selling “scratch and dent” loans, (d) servicing loans, and (ii) granting

     related relief (the “Motion”); and the Court having conducted a hearing on August [●], 2023

     (the “Hearing”) to consider the Motion; and notice of the Motion having been adequate under




1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
117, Mesa, AZ 85203.
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  the circumstances; and upon the record of the Hearing and the Motion; and after due

  deliberation; and sufficient cause appearing therefor; it is hereby

          ORDERED, that the Motion is GRANTED; and it is further

          ORDERED, that the Debtors are hereby authorized but not directed, to

  continue in the ordinary course of business:

             (a) sale activities related CIK Properties, including authorizing the sale of such CIK

                 Properties free and clear of liens, claims, and encumbrances, subject only to the

                 consent of the holders of mortgage liens on the CIK Properties;

             (b) originating and funding mortgage loans,

             (c) selling S&D Loans; and

             (d) servicing loans; and it is further

          ORDERED, that the Debtors have demonstrated that the requested relief is “necessary to

avoid immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003; and it is

further

          ORDERED, that notice of the Motion as provided therein shall be deemed good and

sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Rules are satisfied by such notice; and it is further

          ORDERED, that the final hearing (the “Final Hearing”) on the Motion shall be held on

_________, 2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry

of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

_________, 2023 and shall be served on: (a) proposed counsel to the Debtors, Pachulski Stang

Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware

19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com), David M. Bertenthal

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(dbertenthal@pszjlaw.com) and Timothy P. Cairns (tcairns@pszjlaw.com), (b) the Office of the

United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801,

Attn.: Linda Richenderfer (linda.richenderfer@usdoj.gov); and (c) any statutory committee

appointed in these chapter 11 cases; and it is further

        ORDERED, that notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of

this Interim Order are immediately effective and enforceable upon its entry; and it is further

        ORDERED, that the Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Interim Order; and it is further

        ORDERED, that this Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.




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